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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 Defense Distributed,                        No. 3:19-cv-04753-AET-TJB
 Second Amendment Foundation, Inc.,
 Firearms Policy Coalition, Inc.,
 Firearms Policy Foundation,
 The Calguns Foundation,
 California Association of Federal
 Firearms Licensees, Inc., and
 Brandon Combs,
                    Plaintiffs,

                   v.

 Gurbir Grewal, Attorney General of the
 State of New Jersey,
                   Defendant.


                               Notice of Appeal


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                                    Notice of Appeal

      On April 1, 2019, the Plaintiffs filed a notice of appeal to the United States

Court of Appeals for the Third Circuit from the “Order” entered in this action as

Document 26 on March 7, 2019. Doc. 28. That appeal is pending in the Third

Circuit as case number 19-1729.

      On August 28, 2019, the Court entered an “Order” as Document 33 that relates

to the existing appeal. The prior notice of appeal may already give the Third Circuit

appellate jurisdiction over the August 28, 2019 order. To avoid any jurisdictional

doubt, the Plaintiffs hereby supplement the existing notice of appeal, Doc. 28, with

this additional notice of appeal:

      All Plaintiffs appeal to the United States Court of Appeals for the Third
      Circuit from the “Order” entered in this action as Document 33 on
      August 28, 2019.

For appellate docketing purposes, Plaintiffs respectfully request that matters arising

from this notice of appeal be docketed in conjuncting with the existing appeal as

Third Circuit case number 19-1729.
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 Date: September 23, 2019               Respectfully submitted,

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